Case 1:23-cv-22581-RNS Document 4 Entered on FLSD Docket 07/17/2023 Page 1 of 3



                           United States District Court
                                     for the
                           Southern District of Florida

  Anthony James, individually and       )
  on behalf of all others similarly     )
  situated, Plaintiff,                  )
                                        )
                                          Civil Action No. 23-22581-Civ-Scola
  v.                                    )
                                        )
  MG LLC d/b/a Tranzact,                )
  Defendant.                            )
         Order Requiring Discovery and Scheduling Conference and
         Order Referring Discovery Matters to the Magistrate Judge
        This matter is before the Court upon an independent review of the
 record. This case alleges violations of the Telephone Consumer Protection Act,
 47 U.S.C. § 227 (“TCPA”). It is ordered and adjudged as follows:
    1. The Plaintiff must forward a copy of this order to every Defendant
 immediately upon the filing of a response to the complaint by a Defendant in
 this case. If a Defendant has removed this action from state court, the
 removing Defendant must immediately forward a copy of this order to every
 party who has made an appearance in the state court action. Any party with a
 pending motion in the state-court action must separately refile the motion in
 this Court or the Court will not consider the motion.
    2. Within 14 days of the filing of a response to the complaint by a
 Defendant in this matter, the parties must meet and confer regarding discovery
 and scheduling issues, as set out in Federal Rule of Civil Procedure 26(f) and
 Local Rule 16.1(b). If a Defendant removed this case from state court, the
 parties’ discovery and scheduling conference must occur within 21 days of this
 Order.
    3. Within seven days of the parties’ discovery and scheduling conference,
 the parties must file a joint discovery plan and conference report, as set forth
 in Federal Rule of Civil Procedure 26(f)(3) and Local Rule 16.1(b)(2).
    4. The parties are ordered to disregard the requirements of Local Rule
 16.1 and Federal Rule of Civil Procedure 26(f)(3)(B) regarding any
 proposed deadlines or dates certain. Instead, it is the Court’s practice to set
 TCPA cases on an expedited case track. This expedited case track requires the
 parties to complete discovery approximately three and a half months from of
 the date of the Court’s scheduling order, and provides for a trial date
 approximately eight months from of the date of the Court’s scheduling order.
 The Court’s expedited case track is set forth in Attachment “A” to this order. If
 the parties believe that this case is uniquely complex and requires more time
Case 1:23-cv-22581-RNS Document 4 Entered on FLSD Docket 07/17/2023 Page 2 of 3



 the parties must set out the reasons justifying a more protracted schedule
 along with a proposed schedule of trial and pretrial deadlines. The proposed
 schedule must be submitted in substantially the same format as the schedule
 presented in the Attachment to this order with all proposed date or event
 deviations italicized. Regardless of any proposed changes, the dispositive
 motions deadline must be set no later than four months before the
 commencement of the proposed trial period and no sooner than two weeks
 after the close of all fact discovery. Should any aspect of the proposed
 schedule fail to comply with the directions in this paragraph, the Court
 may unilaterally set the case on the expedited track.
    5. General Motion Practice Before the District Judge. Where there are
 multiple Plaintiffs or Defendants, the parties must file joint motions * and
 consolidated responses and replies unless there are clear conflicts of
 position. If conflicts of position exist, the parties must explain the conflicts in
 their separate filings.
    6. Magistrate Judge Referral. By virtue of 28 U.S.C. § 636 and the
 Magistrate Rules of the Local Rules of the Southern District of Florida, the
 Court refers all discovery matters in this case to United States Magistrate
 Judge Jonathan Goodman to take all necessary and proper action as required
 by law.
    7. Settlement Conference Before Magistrate Judge. The parties may, at any
 time, file a motion requesting a settlement conference before Judge Goodman.
 The Court encourages the parties to consider a confidential settlement
 conference with Judge Goodman, especially if the parties believe there is a
 meaningful chance of reaching an early, amicable resolution of their dispute.
    8. Discovery Motion Procedures. Judge Goodman will enter a separate order
 regarding his discovery procedures.
        Done and ordered in Miami, Florida, on July 14, 2023.


                                                       ________________________________
                                                       Robert N. Scola, Jr.
                                                       United States District Judge


 *
   If multiple Defendants have been served on different days, their deadlines to respond to the
 complaint will likely differ. Therefore, in order to file a joint motion to dismiss the complaint,
 for example, one or more Defendants may need an extension of time to respond to the
 complaint. To that end, those Defendants must confer with opposing counsel, as required by
 the Local Rules, and then seek relief from the Court regarding an appropriate extension. So
 long as the disparate service dates do not result in extensions that will unduly delay the
 proceedings, the Court will accommodate any request that facilitates the joint filing. If any
 Defendant has not yet been served by the time a responsive pleading is due, the parties must
 advise the Court as to whether further extensions may be warranted.
Case 1:23-cv-22581-RNS Document 4 Entered on FLSD Docket 07/17/2023 Page 3 of 3



                     Attachment “A” to the Order Requiring
                      Discovery and Scheduling Conference
                 Example Scheduling Timeline For TCPA Cases
  weeks after
  entry of the
  scheduling
     order
    4 weeks      Deadline to join additional parties or to amend pleadings.

                 Deadline to file joint interim status report.
                 Deadline to file Proposed Order Scheduling Mediation, setting forth
    9 weeks      the name of the mediator, and the date, time, and location of the
                 mediation, consistent with the Order of Referral to Mediation (which
                 immediately follows this scheduling order).

                 Deadline to complete all fact discovery.
                 Deadline to submit joint notice indicating whether the parties consent
                 to jurisdiction before the designated magistrate judge for purposes of
                 final disposition.
   14 weeks
                 Deadline to exchange expert witness summaries/reports pursuant to
                 Federal Rule of Civil Procedure 26(a)(2). Rebuttal disclosures are
                 permitted, and must conform to the deadline set forth in Federal Rule
                 of Civil Procedure 26(a)(2)(D)(ii).

   16 weeks      Deadline for the filing of all dispositive motions.

                 Deadline to complete mediation, consistent with the Order of Referral
   18 weeks
                 to Mediation (which immediately follows this scheduling order).

   21 weeks      Deadline to complete all expert discovery.
   8 weeks
                 Deadline for the filing of pretrial motions, including motions in limine
   BEFORE
                 and Daubert motions.
 calendar call
   4 weeks       Deadline to file joint pretrial stipulation pursuant to Local Rule 16.1(e)
 BEFORE the      and pretrial disclosures pursuant to Federal Rule of Civil Procedure
  trial date     26(a)(3).

   2 weeks       Deadline to file proposed jury instructions (if the matter is set for a
 BEFORE the      jury trial) or proposed findings of fact and conclusions of law (if the
  trial date     matter is set for a bench trial) pursuant to Local Rule 16.1(k).
   33 weeks
                 Two-week trial period commences (calendar call will be scheduled on
 (approximate)
                 the Tuesday before the trial period)
